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JESSIE BENARD                  SUNRISE CREDIT SERVICE
5590 NAILOR RD                 260 AIRPORT PLAZA BLVD
VICKSBURG, MS 39180            FARMINGDALE, NY 11735



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